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TO THE UNITED STATES DISTRICT COURT DISTRICT OF NEVADA                                   MAY 14, 2025

Case No.: 22-CV-1279
                                                                                            /s/ RJDG
Caption: SEC v. Alpine Securities, et al.

MOTION TO DISMISS OR, IN THE ALTERNATIVE, TO COMPEL ADDITION OF JOHN
HURRY AS A DEFENDANT

Submitted by:

Christopher R. Doubek 2043 Joy View Ln Henderson, NV 89012 (Pro Se)

Date: May 12, 2025

Introduction

Your Honor, I, Christopher R. Doubek, appearing pro se, submit this Motion to Dismiss, or, in the
alternative, to Compel the Addition of John Hurry as a Defendant, in the above-captioned
matter. This motion is based on the compelling and irrefutable evidence, detailed herein, which
mandates my dismissal from this action or, at a minimum, the immediate addition of John Hurry
as a defendant.

I acknowledge that this submission is made at a late stage in these proceedings. This delay is
not due to any disrespect for the Court's deadlines or any intent to delay these proceedings.
Rather, it arises from the profound and escalating injustice I am experiencing and the recent
corroboration of critical evidence that underscores the urgent need for the Court's immediate
attention.

I believe that allowing this motion to be fully considered is unequivocally in the interest of justice,
will not unduly prejudice the opposing party as it seeks a just and accurate accounting of
responsibility, and will allow for a more complete and truthful consideration of the merits of this
case. I have acted with the utmost urgency in compiling and presenting this information as it has
become undeniably clear, and am now imploring the Court's immediate intervention to rectify a
grave and ongoing inequity.

Argument

I respectfully, earnestly, and with the utmost urgency, move this Court to grant immediate
summary judgment in my favor. The only equitable resolution is either my outright and
immediate dismissal from the Securities and Exchange Commission ("SEC") action against
Alpine Securities ("Alpine"), Joe Walsh, and myself, or, at an absolute minimum, the swift and
unequivocal mandating of John Hurry's addition as a principal defendant.

The overwhelming, irrefutable, and consistently corroborated evidence now before this Court,
viewed in its entirety, leaves no room for doubt: Mr. John Hurry's pervasive and abusive control,
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his deeply entrenched lack of integrity, and his utter disregard for corporate governance and
ethical management were the sole, direct, and proximate causes of the catastrophic issues at
Alpine. To continue to exclude him as a defendant while I remain unjustly targeted and bear the
brunt of this action is not merely an oversight; it is a blatant and unconscionable miscarriage of
justice that demands immediate and decisive correction by this Court.

The historical record unequivocally brands John Hurry as a recidivist offender, whose alarming
pattern of misconduct, abuse of power, and fundamental lack of morality or respect for
regulatory frameworks spans multiple industries and jurisdictions, directly mirroring the
allegations against Alpine. The following summary of compelling evidence underscores the
acute and urgent need for this Court's immediate intervention:

   1.​ FINRA Disciplinary Proceeding No. 2019061232601: The Financial Industry
       Regulatory Authority ("FINRA"), in its judgment of March 25, 2025, following an
       exhaustive investigation, explicitly and definitively identified John Hurry as the ultimate
       and absolute controlling force behind Alpine. FINRA unequivocally determined that the
       systemic misconduct occurred while Alpine was beneficially owned by trusts directly
       managed by John Hurry, who personally and imperiously dictated the very policies and
       illicit fees that form the crux of the SEC's allegations. His manifest frustration and utter
       contempt for regulatory oversight and scrutiny further irrefutably confirm his direct,
       personal, and abusive involvement. My role as CEO was strictly that of a fiduciary,
       operating under the explicit, often ethically compromised, directives and within the
       coercive framework established by Mr. Hurry and, regrettably, affirmed by in-house
       counsel directly engaged by and solely reporting to John Hurry. The fact that FINRA,
       after its comprehensive investigation into the entirety of Alpine's management structure,
       brought no action whatsoever against me personally stands as a stark and thunderous
       indictment of where the true and ultimate responsibility lies – squarely with John Hurry.
   2.​ Nevada Division of Financial Institutions Decision of July 21, 2023: The Nevada
       Division of Financial Institutions, in its decision of July 21, 2023, denying Mr. Hurry's
       application for Advisors Capital Trust Company, independently and unequivocally
       corroborated FINRA's findings. Nevada explicitly cited Alpine's expulsion due to "the
       gross mismanagement of the firm and blind adherence to misguided policies established
       by a non-registered person, John Hurry, who neither comprehended nor respected the
       duty of fair dealing that the member firm owed its customers." Nevada unequivocally
       acknowledged Mr. Hurry's "100% indirect beneficial ownership" and directly quoted
       FINRA's irrefutable conclusion that "many key decisions resulting in the misconduct at
       issue here came from John Hurry, regardless of who served as chief executive officer..."
       Furthermore, Nevada specifically highlighted Mr. Hurry's demonstrable lack of
       trustworthiness and his direct and abusive management of Alpine, further solidifying his
       central role in the firm's failures.
   3.​ United States District Court for the District of Utah, Memorandum Decision &
       Order of March 8, 2024: The recent Memorandum Decision & Order from the United
       States District Court for the District of Utah, dated March 8, 2024, while focused on a
       different legal challenge by Alpine, chillingly underscores the terminal consequences
       stemming directly from the conduct orchestrated by its sole beneficial shareholder, John
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       Hurry. The judgment details that following the implementation of new capital
       requirements by the National Securities Clearing Corporation (NSCC), NSCC issued a
       "Notice of Intent to Cease to Act" for Alpine due to the firm's alleged willful
       non-compliance and the submission of demonstrably inaccurate data. This decisive
       action by the NSCC, a direct and foreseeable consequence of Alpine's precarious
       operational standing under Hurry's reckless direction, starkly highlights the critical and
       immediate regulatory pressures that ultimately led to the firm's demise. The Utah court's
       recounting of this "Notice of Intent to Cease to Act" serves as an unmistakable and
       ominous indicator of the "corporate death penalty" that loomed, and ultimately fell, upon
       Alpine – a situation directly, solely, and unequivocally attributable to the abusive
       management and ethically bankrupt policy decisions emanating directly from its
       controlling shareholder, John Hurry.
   4.​ Hyundai Motor America "Notice of Termination" of April 14, 2022: Adding to this
       already overwhelming and damning record is the "Notice of Termination" issued by
       Hyundai Motor America ("HMA") on April 14, 2022. This document, originating from an
       entirely separate and unrelated industry, provides chillingly consistent and independently
       verifiable evidence of Mr. Hurry's profound and deeply ingrained lack of integrity and his
       directly controlling and often abusive business practices. Hyundai meticulously detailed
       Mr. Hurry's material and deliberate misrepresentations in his franchise applications, his
       calculated concealment of the extensive and severe disciplinary actions levied by the
       SEC and FINRA against him and his various firms. HMA powerfully reiterated FINRA's
       damning findings of Alpine's systematic misuse of customer funds and Mr. Hurry's
       personal engagement in "illegal sales of securities," conduct so egregious that it resulted
       in his bar from the securities industry for "purposeful" and "egregious" actions, deemed a
       direct "threat to investors and the integrity of the securities markets." Hyundai's
       independent and unequivocal assessment starkly underscores the pervasive and deeply
       rooted nature of Mr. Hurry's misconduct and his fundamental unsuitability to lead any
       organization requiring even a modicum of trust, ethical conduct, and adherence to
       regulatory obligations.

The undeniable convergence of these independent regulatory and business assessments
leaves absolutely no room for doubt: John Hurry's dictatorial control, his demonstrable and
repeatedly evidenced lack of integrity, and his abusive management practices were the singular
and direct wellspring of the systemic issues that plagued Alpine Securities, regardless of and in
spite of management personnel in place. My continued inclusion in this punitive action, while the
individual who personally orchestrated the alleged misconduct remains conspicuously shielded
from accountability, is not merely an oversight or an inconvenience; it is an unconscionable
burden, a profound misdirection of justice, and a grave threat to my professional and personal
life.

Conclusion and Relief Requested

Therefore, I respectfully, earnestly, and with the utmost urgency, implore this Court to take
immediate and decisive action. The overwhelming, irrefutable, and consistently corroborated
evidence unequivocally demands either my swift and complete dismissal from this unjust action
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or the immediate and unequivocal addition of John Hurry as a named principal defendant,
holding him directly and fully accountable for the devastating consequences of his direct,
abusive control and his extensively documented pattern of willful disregard for regulatory
obligations and fundamental ethical conduct. My pro se status only underscores the desperate
and immediate need for this Court's intervention to rectify this glaring and egregious inequity
and to prevent further irreparable harm to my life and professional standing, which hangs
precariously in the balance.

Thank you for your immediate, earnest, and just consideration of this critical and urgent plea for
fundamental fairness.

Respectfully submitted,

/s/

Christopher R. Doubek 2043 Joy View Ln Henderson, NV 89012 (Pro Se)
